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                                                                                           FILED
                                                                                         JUL 13 2022
                                UNITED STATES DISTRJCT COURT
                                                                                       U.S. DISTRICT COURT
                                EASTERN DISTRJCT OF MISSOURJ                         EASTERN DISTRICT OF MO
                                      EASTERN DIVISION                                       ST. LOUIS


UNITED STATES OF AMERJCA,                      )
                                               )
                         Plaintiff,            )
                                               )
                  V.                           )       No.
                                               )
                                                              4:22-cr-00393-SEP/DDN
KOLBY KRJSTIANSEN,                             )
                                               )
                         Defendant.            )

                                            INDICTMENT

                                            COUNT ONE

      The Grand Jury charges that:

      On or about July 1, 2022, in St. Louis County, within the Eastern District of Missouri,

                                        KOLBY KRISTIANSEN,

the defendant herein, did knowingly and intentionally possess with the intent to distribute actual

methamphetamine, a Schedule II controlled substance, in violation of Title 21 , United States Code,

Section 841 (a)(l ), and that the amount of actual methamphetamine involved in the offense was 50

grams or more, thereby making the offense punishable under Title 21 , United States Code, Section

841 (b)(1 )(A).

                                      FORFEITURE ALLEGATION

             The Grand Jury further charges that:

        1.        Pursuant to Title 21 , United States Code, Section 853(a), upon conviction of an

offense in violation of Title 21 , United States Code, Sections 841(a)(l) as set forth in this

indictment, the Defendant, KOLBY KRISTIANSEN, shall forfeit to the United States of America

any property, constituting, or derived from, any proceeds the defendant obtained, directly or
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    indirectly, as a result of such violation/s and any property used, or intended to be used, in any

    manner or part to commit or to facilitate the commission of such violations.

          Subject to forfeiture upon a conviction is a sum of money equal to the total property

    constituting, or derived from, any proceeds obtained directly or indirectly as a result of such

    violations.




                                                        A TRUE BILL.


                                                        FOREPERSON

    SAYLER A. FLEMING
    United States Attorney


    LisaM. Yemm, #64601MO
    Assistant United States Attorney
